UNETED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

VIRGINIA L. GIUFFRE,
Plaintiff,
15 Civ. 7433 (LAP}

~against-
ORDER

GHISLAINE MAXWELL,

Defendant.

 

 

LORETTA A. PRESKA, Senior United States District Judge:

Doe 107 submitted an ex parte request seeking a stay,
pending appeal, of the release of documents relating to her.
Doe 107’s request for a stay of the release of documents relating
to her is granted until December 5, 2022 to allow her to seek a
further stay from the Court of Appeals.
SO ORDERED.

Dated: New York, New York
November 28, 2022

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LORETTA A. PRESKA
Senior United States District Judge

 

 

 
